       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                        JUDGMENT RENDERED AUGUST 27, 2024



                                      NO. 03-24-00356-CV


                                    Donald Baker, Appellant

                                                v.

                                    City of Austin, Appellee




       APPEAL FROM THE 353RD DISTRICT COURT OF TRAVIS COUNTY
        BEFORE CHIEF JUSTICE BYRNE, JUSTICES TRIANA AND KELLY
    DISMISSED FOR WANT OF JURISDICTION -- OPINION BY JUSTICE KELLY


This is an appeal from the order of dismissal signed by the trial court on March 4, 2024. Having

reviewed the record, it appears that the Court lacks jurisdiction over the appeal. Therefore, the

Court dismisses the appeal for want of jurisdiction. Appellant shall pay all costs relating to this

appeal, both in this Court and in the court below.
